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UNITED STATES DISTRICT COURT F | L ED
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION APR ~ 5 9 06
JERRY BRIM, MIKE PRINCE, and ) WES RUS: DISTRICT COUR,
MIKE TUTTLE, ) ay RNNDISTRICT OF TEXAS
) PUY OER
Plaintiffs, )
)
VS. ) Civil Action No: MO-05-CV-018-XR
)
EXXON MOBILE PIPELINE CO., )
)
Defendant. )
JUDGMENT

In accordance with this Court’s order of this date, it is hereby ORDERED, ADJUDGED
and DECREED that judgment be entered in favor of the defendant on Plaintiffs' ADEA,
Sherman, and Clayton Act claims. Plaintiff's state-law claims are dismissed without
prejudice. Costs of Court are awarded to Defendant. Defendant is ordered to submit its bill of

costs in the form designated by the Clerk within ten days.

SIGNED this 3" day of April, 2006. )-

XAVIER RODRIGUEZ
UNITED STATES DISTRICT JUDGE

 

 
